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 1   Tim Nguyen
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 2   117 N. 3rd St #201
     Yakima, WA 98901
 3   (509) 452-6235
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 4
     Attorney for Defendant
 5   JERROD JUSTIN HALE
 6
                          UNITED STATES DISTRICT COURT
 7
                         EASTERN DISTRICT OF WASHINGTON
 8

 9
                                               Case No.: 4:21-CR-06008-SMJ-3
     UNITED STATES OF AMERICA,
10
                                               DEFENDANT’S STATEMENT OF
                     Plaintiff,                REASONS IN SUPPORT OF THE
11
                                               MOTION TO CONTINUE TRIAL
            vs.
12   JERROD JUSTIN HALE,
13                   Defendant
14

15
            My attorney has advised me of my right under the Speedy Trial Act,
16
     18 U.S.C. § 3161, to go to trial within a seventy-day period. My attorney has
17

18   also advised me that a continuance of the trial is needed, and we discussed
19
     the reasons for a continuance.
20
            A motion to continue the trial has been filed.
21

22          My attorney has advised me, and I understand that, if the Court grants
23
     the motion to continue that all time between the date the motion to continue
24

25




     Statement of Reasons- 1
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 1
     was filed and the new date for trial will be excluded from the speedy-trial

 2   period under the Speedy Trial Act.
 3
            After reviewing the motion and discussing the reasons for the
 4

 5
     requested continuance with my attorney, I knowingly and voluntarily ask

 6   this Court to grant that motion to continue and reset the trial date from its
 7
     current date of the trial date from its current date of August 23, 2021 to a
 8

 9   date not later than August 23, 2021 for the reasons found in 18 U.S.C. §

10   3161: I want my attorney to be prepared for trial and review all the evidence
11
     including the new material provided just a few weeks ago.
12

13          I declare under penalty of perjury that the foregoing is true and

14   correct.
15
            /s/ approved in person
16          Jerrod Justin Hale                 Date
17

18          I have read this form and discussed the contents with my client
19
                                               /s/ Tim Nguyen
20                                             Tim Nguyen, WSBA No. 50579
21                                             Attorney for Defendant
                                               117 N. 3rd Street #201
22
                                               Yakima, WA 98901
23                                             (509) 452-6235
                                               (509) 452-2518 fax
24
                                               timnguyen@troyleelaw.net
25




     Statement of Reasons- 2
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 1
                                CERTIFICATE OF SERVICE

 2          I hereby certify that on July 14, 2021, I electronically filed the
 3
     Statement of Reasons to Continue Trial with the Clerk of the Court using the
 4

 5
     CM/ECF System, which will send notification of such filing to the

 6   following: Stephanie Van Marter, Assistant United States Attorney.
 7
                                               /s/ Tim Nguyen
 8                                             Tim Nguyen, WSBA No. 50579
 9                                             Attorney for Defendant
                                               117 N. 3rd Street #201
10                                             Yakima, WA 98901
11                                             (509) 452-6235
                                               (509) 452-2518 fax
12                                             timnguyen@troyleelaw.net
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     Statement of Reasons- 3
